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                                                                                                28 USC 1608 Summons
                                                                                                12/11




                                   UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF COLUMBIA


              GRETTON LIMITED
                                                     )
                       Plaintiff                     )
                                                     )
               v.                                    )               Civil Action No. 1:18-cv-01755-JEB
        THE REPUBLIC OF UZBEKISTAN                   )
                                                     )
                       Defendant                     )



                                      SUMMONS IN A CIVIL ACTION

To:     (Defendant’s name and address) THE REPUBLIC OF UZBEKISTAN
                                    c/o Minister Abdulaziz Khafizovich Kamilov
                                    Ministry of Foreign Affairs of the Republic of Uzbekistan
                                    9, Islam Karimov street, Tashkent, 100029, UZBEKISTAN


        A lawsuit has been filed against you.

        Within 60 days after service of this summons on you (not counting the day you received it) you must
serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the Federal Rules of
Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney, whose name and
address are:          MINTZ, LEVIN, COHN, FERRIS, GLOVSKY & POPEO, P.C.
                      Attention: David Barmak
                      701 Pennsylvania Ave, NW
                      Suite 900
                      Washington, D.C. 20004




      If you fail to respond, judgment by default may be entered against you for the relief demanded in the
complaint. You also must file your answer or motion with the court.



                                                             ANGELA D. CAESAR, CLERK OF COURT



Date:      8/1/2018                                                       /s/ Michael Darby
                                                                     Signature of Clerk or Deputy Clerk
